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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet I

UNITED STATES DISTRICT COURT

Southern District of Hlinois

 

 

 

 

)
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. )
)
Christopher Michael Horton ) Case Number: 3:13-cr-30042-DRH-i
USM Number: — 10097-025
) Thomas C, Gabel
Defendant’s Attorney
THE DEFENDANT:
[x] pleaded guilty to counts 1, 2, 3, 4, 5 and 6 of the Indictment
[3 pleaded nolo contendere to count(s)
which was accepted by the court.
( was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C, 82251(a) and (e} Sexual Exploitation of a Minor February 11, 2013 1,2, 3,4, 5
18 U.S.C. §225i(a) and(e) Attempt Sexual Exploitation of a Minor February 11, 2013 6

Order of forfeiture previously entered

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

| The defendant has been found not guilty on count(s)

 

L] Count(s) [i is (] are dismissed on the motion of the United States.

 

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

March 7, 2014

Date of Imposition of Judgment

QU ghee

 

Signature of Judge

David R. Herndon, Chief Judge, U.S. District Court
Name and Title of Judge

51. Lof4-

 

Date
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AO 245B (Rev. 09/11} Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment-- Page 2
DEFENDANT: Christopher Michael Horton

CASE NUMBER: 3:13-cr-30042-DRH-!

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

360 months on Counts 1 and 2 of the Indictment, 360 month on Counts 3 and 4 of the Indictment, 360 months on
Count 5 of the Indictment, all such terms to run consecutively and 360 months as to Count 6 of the Indictment, to be

served concurrent, for a total of 1080 months, custody of the Bureau of Prisons

The court makes the following recommendations to the Bureau of Prisons:

Court recommends Defendant be placed at USP Marion.

The defendant is remanded to the custody of the United States Marshal.

[} The defendant shall surrender to the United States Marshal for this district:

CI at OO am OF pm. on

 

L} as notified by the United States Marshal.

[{ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

iJ = before 2 p.m. on

 

L{ as notified by the United States Marshal.

LO as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
[have executed this judgment as follows:
Defendant delivered on to |
at , With a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/£1) Judgment in a Criminal Case (Modified SDIL.)
Sheet 3 — Supervised Release

Judgment—Page 3. of 6
DEFENDANT: Christopher Michael Horton
CASE NUMBER: 3:13-cr-30042-DRH-1

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
Life as to Counts 1, 2, 3, 4, 5 and 6 of the Indictment, , all terms to run concurrent

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance, The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 52 tests in one year.

x The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

XX The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable.)
The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16904, et
J seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
Li The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities:

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall retrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
any contraband observed in plain view of the probation officer:

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
confirm the defendant’s complance with such notification requirement.
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Sheet 3C —- Supervised Release

Judgment—Page 4 of 6

DEFENDANT: Christopher Michael Horton
CASE NUMBER: 3:13-cr-30042-DRH-1

SPECIAL CONDITIONS OF SUPERVISION

Due to concerns related to the defendant's mental health, the defendant shall participate in a program of mental health treatment, which
may include participation in treatment for cognitive skills, or other forms of therapy or counseling that may be recommended, as directed
by the probation officer. This may include a mental health assessment and/or psychiatric evaluation. This may require participation in a
medication regimen prescribed by a licensed practitioner, at the direction of the probation officer. The defendant shall pay for the costs
associated with services rendered, based on a Court approved sliding fee scale as directed by the probation officer. The defendant's
financial obligation shall never exceed the total cost of services rendered.

Based on the nature of the offense/defendant's history, the defendant shall permit the probation officer to have access to any personal
computer and/or electronic device capable of accessing the Internet, World Wide Web, and Electronic Mail. The defendant shall also
allow the probation officer or designee to conduct regular searches of his computer and/or electronic device using software monitoring
devices if determined necessary by the probation officer. The defendant shall advise the probation officer of all e-mail addresses used on
both public and private computers. The defendant shall consent to third-party disclosure to any employer or potential employer,
concerning any computer-related restrictions that may be imposed. The defendant shall inform other residents or occupants of his home
that computer systems accessed by the defendant will be subject to inspection by the probation officer and/or authorized contractor.

Defendant shall participate in an approved sexual offender treatment program, as directed by the probation officer. If deemed necessary,
the defendant shall submit to an approved, sexual-predator evaluation, as directed by the probation officer. The defendant shall abide by ali
rules, requirements, and conditions of the treatment program, including submission to polygraph and/or plethysmograph examination to
determine compliance with the conditions of release. The defendant shall remain in the program until successfully completed, or until such
time as the defendant is released from the program by the Court and/or probation officer. The defendant shall pay for the costs associated
with services rendered, based on a Court approved sliding fee scale as directed by the probation officer. The defendant's financial
obligation shall never exceed the total cost of services rendered.

Defendant shall not possess or use electronic devices capable of taking photographs or videos. He shall not subscribe to any text
messaging services.

Defendant shall be prohibited from using or accessing a computer for the purpose of accessing, downloading, transferring, and/or
receiving pornographic material.

Based on the nature of the offense/defendant's history, he shall submit to a search, at any time, with or without a warrant, and by any law
enforcement or probation officer, of the defendant's person and any property, house, residence, vehicle, papers, computer, other electronic
communication or data storage devices or media, and effects, upon reasonable suspicion concerning a violation of a condition of
supervision or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of the officer's supervision functions.
Failure to submit to a search may be grounds for revocation. The defendant shall inform any other residents that the premises may be
subject to a search pursuant to this condition.

Based on the nature of the offense/defendant's history, he shall not have any contact with minor males under the age of 18 unless in the
presence of a responsible adult who is aware of the nature of the defendant's background and instant offense and who has been approved
by the probation officer.

Defendant shall not affiliate with, own, control, and/or be employed in any capacity by a business, organization, and/or volunteer activity
that causes him to regularly contact minor males under the age of 18.

Defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office with access to any
requested financial information. The defendant is advised that the probation office may share financial information with the Financial
Litigation Unit.

Defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other anticipated or
unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall immediately notify the probation
officer of the receipt of any indicated monies.
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AQ 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

Judgment — Page 3 of 6
DEFENDANT: Christopher Michael Horton
CASE NUMBER: 3:13-cr-30042-DRH-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment Fine Restitution
TOTALS $ 600.00 $ waived $ 3,250
L_] The determination of restitution is deferred until _. An Amended Judgment in a Criminal Case (40 245C) will be entered

after such determination.
[1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
Minor | $406
Minor 2 $500
Minor 3 $1,700
Minor 4 $650
a _. $3250.00

(4 _ Restitution amount ordered pursuant to plea agreement $

 

_] The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

&] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
ix] the interest requirement is waived for C fine restitution,

C] _ the interest requirement for i] fine (restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, II0A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 6 —~ Schedule of Payments
Judgment--Page 6 of 6
DEFENDANT: Christopher Michael Horton
CASE NUMBER: 3:13-cr-30042-DRH-1

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A () Lumpsumpaymentof$  _ __ due immediately, balance due
C] notlaterthan Cis

[] in accordance Ce O dD OO E,or © F below: or

B i Payment to begin immediately (may be combined with moc, L] D,or F below); or

C (1 Payment in equal _ (e.g., weekly, monthly, quarterly) installments of $ _ over a period of
_. (28. months or years), to commence . _ (8. 30 or 60 days} after the date of this judgment; or

D ([) Paymentinequal _ (€.8., weekly, monthly, quarterly) installments of $ over a period of

(2.8, months or years), to commence . _. @.8., 30 or 60 days) after release ftom imprisonment to a
term of supervision; or

EK [} Payment during the term of supervised release will commence within (¢.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F & Special instructions regarding the payment of criminal monetary penalties:

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be paid in equal monthly
installments of $25 or ten percent of his net monthly income, whichever is greater. The defendant shall pay any financial penalty
that is imposed by this judgment and that remains unpaid at the commencement of the term of supervised release,

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court,

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

(1 — Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[J The defendant shall pay the cost of prosecution.
[] The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States:

x Apple IPhone contained in a red and black Griffin protective case: a SATA 120GB Western Digital Hard Drive Mode; an IDE 20GB
Hitachi Hard Drive; and an Alienware Laptop with an unknown make/model hard drive and/or internal memory with the markings of
“Made in China” and an embroidered name plate displaying the words “Built for Chris Horton (NINJA)

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
